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 3                                                                     FILED & ENTERED
 4
                                                                            DEC 05 2024
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 6                                                                     CLERK U.S. BANKRUPTCY COURT
                                                                       Central District of California
                                                                       BY may        DEPUTY CLERK
 7

 8                           UNITED STATES BANKRUPTCY COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10                                   LOS ANGELES DIVISION
11
     In re:                                              Case No.: 2:23-bk-10990-SK
12
     Leslie Klein,                                       Chapter: 11
13

14                                                       Adversary No.: 2:23-ap-01167-SK

15
                                                    SCHEDULING ORDER RE: DEFENDANTS’
16
                                            Debtor, CROSS-MOTION FOR SUMMARY
17                                                  JUDGMENT OR, IN THE ALTERNATIVE,
     Bradley D. Sharp                               SUMMARY ADJUDICATION
18
                                           Plaintiff,
19

20
                                            Vs. Date: February 5, 2025
21                                               Time: 9:00 a.m.
     Kenneth Klein, Shoshana Shrifa Klein,       Location: Courtroom 1575
22
     Kenneth Kolev Klein                                   255 East Temple St.
23                                                         Los Angeles, CA 90012
                                   Defendant(s).
24

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26                   On November 26, 2024, Defendants Kenneth Klein and Shoshana Shrifa Klein
27   (Defendants), filed a “Defendants’ Cross-Motion for Summary Judgment…” (Cross-
28   Motion). Docket #65. The Court having reviewed the Cross-Motion and for good cause,




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 1
            IT IS HEREBY ORDERED that a hearing on the Cross-Motion is set on February 5,
 2
     2025, at 9:00 a.m. Appearances may be made in-person or via ZoomGov.
 3
           IT IS FURTHER ORDERED that Defendants must serve all required parties with this
 4
     Order by 5:00 p.m. on December 6, 2024.
 5
           IT IS FURTHER ORDERED that any opposition to the Cross-Motion must be filed and
 6
     served by December 18, 2024, at 12:00 p.m. (noon).
 7
           IT IS FURTHER ORDERED that any reply must be filed and served by December 31,
 8
     2024, at 12:00 p.m. (noon).
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           IT IS FURTHER ORDERED that no further briefing will be allowed or considered.
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          Date: December 5, 2024
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